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                               14-15040-F


           IN THE UNITED STATES COURT OF APPEALS
                 FOR THE ELEVENTH CIRCUIT



                        MATTHEW DAVID AYERS

                              APPELLANT

                                   VS.

                   UNITED STATES OF AMERICA

                               APPELLEE

    ON APPEAL FROM THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ALABAMA

           (DISTRICT COURT NO: 5:14-CR-117-LSC-SGC)
__________________________________________________________________

                         BRIEF OF APPELLANT

                    MATTHEW DAVID AYERS
__________________________________________________________________

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UNITED STATES COURT OF APPEALS FOR THE ELEVENTH CIRCUIT

          CERTIFICATE OF INTERESTED PARTIES PERSONS
            AND CORPORATE DISCLOSURE STATEMENT

      MATTHEW DAVID AYERS v. UNITED STATES OF AMERICA



W Scott Brower, Attorney of Appellant

Matthew David Ayers, Appellant

Honorable L. Scott Coogler, United States District Judge

Honorable Stacy Cornelius, United States Magistrate Judge

Lindy Fuller, Court Reporter

Mary Stuart Burrell, Assistant United States Attorney

Joyce Vance, United States Attorney

United States Probation Office




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              STATEMENT REGARDING ORAL ARGUMENT

      This is an appeal from a guilty plea and sentencing in the above matter.

Since counsel is filing an Ander’s brief in this cause sees no reason for oral

argument.




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                 CERTIFICATE OF TYPE SIZE AND STYLE

      Pursuant to the Eleventh Circuit Rule 32-4(b), Counsel for the Appellant

certifies that the type size and style used in this brief is 14 point Times New

Roman.




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                       STATEMENT OF JURISDICTION

Jurisdiction in the matter is conferred on the Court of Appeals by 28 U.S.C. § 1291,

which grants this Court authority to review a final decision of the U.S. District Court.




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                   STATEMENT OF ISSUES PRESENTED

      Whether or not there is any merit to Ayers’ appeal based upon the fact that

he was sentenced pursuant to United States Sentencing Guidelines § 5G1.2(b) and

(d) to consecutive 30 year sentences, as his Guideline imprisonment range is life.

Pursuant to § 5G1.2(b) and (d), when the statutory authorized maximum sentence

(30 years) is less than the minimum of the applicable guideline range, the sentences

imposed shall be run consecutively, to the extend the combined sentence is equal

to the total punishment.



                           STATEMENT OF THE CASE

      On January 1, 2013, the Defendant and his wife, Patricia Ayers were

arrested on related state charges. On May 6, 2014, they were both obtained on a

Writ by the United States Marshal from the custody of the State of Alabama. Ayers

was arraigned on a fifty (50) count indictment for Production of Child

Pornography pursuant to 18 U.S.C. 2251(a) and 18 U.S.C. 2251(b)and (e) on May

14, 2014. (R1-1) At that time, counsel was appointed to represent Ayers.


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      On June 26, 2014, Ayers entered plea of guilty to twenty five (25) counts of

Production of Child Pornography under 18 U.S.C. 2251(a). (R1-19)

      A presentence investigation report was prepared on September 10, 2014.

(R1032) On October 20, 2014, the government filed a Sentencing Memorandum

asking the court to sentence the Ayers to consecutive 30 year sentences for in all

25 counts (R1-25) and on October 21, 2014 Ayers filed a Sentencing

Memorandum asking the court to sentence him to concurrent 30 year sentences on

half the counts and concurrent 15 year sentences on the other half, with the 30 year

and 15 year sentences to be run consecutively for a total sentence of 45 years. (R1-

27)

      On October 22, 2014, the Honorable Scott Coogler sentenced the Appellant,

Matthew David Ayers to Thirty (30) Years in each of the Twenty Five Counts to

run consecutive to one another, for a total sentence of 9000 months or 750 years.

(R1-34)

      On November 5, 2014, Ayers through counsel filed a Notice of Appeal. (R1-

38)

      Ayers was subsequently sentenced to two concurrent life sentences in the

related state cases following a guilty plea to Sodomy 1st degree and production of

Child Pornography involving parent and child.


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                            STATEMENT OF FACTS



      On December 1, 2012, Patricia and Matthew Ayers met another couple

(Sean Patrick Fannon and Carinn Seabolt) online intending to participate in

“swinging” with the other couple. All four people visited in he Ayers’s residence

and the other couple were introduced to the children living in the home. These

children were the biological children of Patricia Ayers. During that visit, the

couples participated in sexual activities with each other.

      Subsequently on December 8, 2012, the Ayers visited the other couple at

their residence. During this visit, Patricia Ayers attempted to provide Fannon with

some sexual pictures of herself and Matthew that were contained on a thumb drive.

However, the thumb drive did not work properly. On December 14, 2012, the

Ayers’s family spent the weekend with Fannon and Seabolt. During the visit,

Fannon provided digital pictures of he and Seabolt to Patricia Ayers, who in turn

provided digital images to Fannon of what she said were images of her and

Matthew Ayers. Fannon believed that they were exchanging images of adults

engaged in sexual conduct. The exchange of files occurred over Fannon’s wireless

system.


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      Later, on December 22, 2012, Fannon was in Chattanooga, Tennessee, when

he first opened the files provided to him by Patricia Ayers. While viewing the

pictures he was provided, he saw what he believed to be images of child

pornography. Fannon recognized the child in the photographs as being Patricia

Ayers’s daughter. At that time, he immediately closed the files and contacted

Seabolt to explain what he had seen. During the conversation, both agreed that

Fannon should contact law enforcement in order to ensure the safety of the

children living in the Ayers’s residence. Fannon attempted to contact the

Lauderdale County Sheriff’s Department and the Lauderdale County Department

of Human Resources, but was referred to the Madison County Sheriff’s

Department.

      On December 24, 2012 upon returning to Alabama, Fannon met with

Madison County Sheriff’s Deputy Koch and advised the deputy of the above.

Fannon turned over his computer and signed a consent to search form for the

computer. Deputy Koch confirmed the child pornography and contacted Sergeant

Shaw, also with Madison County. Sgt. Shaw and ABI forensic Agent Joey Hughes

reviewed Fannon’s computer and retrieved five images of child pornography.

      Sgt. Shaw then on January 2, 2013 made contact with Inv. Richard Richey

of the Lauderdale County Sheriff’s Office to explain the situation. Inv. Richey


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served a search warrant at the Ayers’s residence in Florence, Alabama. Patricia

Ayers was transported back to the Sheriff’s office where, after waiving he Miranda

rights, admitted to taking the images of the victim. She was subsequently arrested.

During a subsequent review of the computer images, ABI Forensic Agent Rager

located images of the victim and Matthew Ayers engaging in sexual acts. Matthew

Ayers was the arrested.

      The victim in the case, advised a counselor from Gateway Family Specialist

that Matthew Ayers had touched her on her privates and that her mother was

present when this occurred. The victim also stated that she asked Matthew Ayers to

stop, but, he didn’t stop and her mother, who was present, didn’t make him stop.

      The victim in the case was confirmed by birth certificate to be born on

October 29, 2004. All of the images were made with either Patricia Ayers’s cell

phone of a camera located in the residence, neither of which were manufactured in

the United States. In addition, all of the images were produced within the Northern

District of Alabama.



                            STANDARD OF REVIEW

      For all issues as it relates to the trial court’s findings of facts under the

sentencing guideline, the standard of review is clearly erroneous.


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      The Court must de novo all other claims made by the appellant.



                       SUMMARY OF THE ARGUMENT

      Counsel files with this Court a “no-merit” brief pursuant to the United States

Supreme Court’s decision of Anders v. California, 386 U.S. 738, 87 S.CT. 1396,

18 L.Ed. 2d 493(1967). Appellant counsel did so for the following reasons and

will enunciate those in his summary of argument as well as his argument to be

presented to this Court.

      Ayers’s plead guilty and was sentenced pursuant to the directives of the

United States Sentencing Guidelines Although the Court has discretion in this

matter, the Court after reviewing all the evidence concluded that there was no

reason to vary or depart from the sentence called for by the United States

Sentencing Guidelines and stated as much on the record.

      As previously stated, the sentence imposed was within the statutory

maximum allowed under the law and within the range recommended by the United

States Sentencing Guidelines.

      Based upon the above and foregoing counsel has filed a no-merit brief.




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                                   ARGUMENT

      At the time of his sentencing, Ayers though counsel sought concurrent a 45

year sentence. As previously stated, this is in direct contradiction to the United

States Sentencing Guidelines. However, Ayers sought a variance and argued that

concurrent sentences were appropriate in this case.

      Ayers argument in sum, follows:

      When fashioning a sentence for a defendant, the Court’s “overarching” duty

is to “impose a sentence sufficient, but not greater than necessary, to accomplish

the goals of sentencing.” Kimbrough v. United States, 552 U.S. 85, 101 (2007).

Courts are now allowed to disagree with the Guidelines, because, “the guidelines

are now advisory.” Kimbrough, 552 U.S. at 101-02.Courts are now allowed to

disagree with the Guidelines based solely on policy considerations. Kimbrough,

(citing Rita v. United States, 551 U.S. 338, 351 (2007)(stating that Courts may find

the “guidelines sentence itself fails properly to reflect § 3553(a) considerations).

      In United States v. Dean, the Eleventh Circuit confirmed the reasonableness

of a 30 year statutory maximum sentence wherein the defendant was convicted of

sexually abusing his stepdaughter for more than fifteen years and filming the abuse


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to produce child pornography. 635 F.3d 1200, 1212 (11th Cir. 2011). See United

States v. Irey, 612 F.3d 1160, 1166 (11th Cir. 2010)(where the court vacated a 210

month sentence and remanded with instructions to impose a sentence of 360

months on a defendant who raped, sodomized and sexually tortured more than fifty

girls, some as young as four years of age over a four to five year period). See also

United States v. Kapordelis, 569 F.3d 1291, 1319 (11th Cir. 2009)(wherein the

Eleventh Circuit affirmed a month sentence for possessing, receiving, and

producing child pornography). The fact of these cases are arguably far worse than

that of Mr. Ayers and the sentences imposed in these cases, despite being

completely sufficient to ensure that the defendants were never released into society

but, not being greater than reasonably necessary to accomplish that goal. A

sentence of 750 years for Mr. Ayers is arbitrary and is nothing more than an

emotional response to his crimes. Further a 750 year sentence would do nothing

more than in terms of just punishment than 45 years.

        However, after reviewing the case law sited in Ayers sentencing

Memorandum along with voluminous other cases from the 11th Circuit Court of

Appeal and the United States Supreme Court, counsel is now of the opinion that

there is no legal basis for this Court to reverse the District Court’s sentence in this

case.


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      Therefore, counsel files with this Court a “no-merit” brief pursuant to the

United States Supreme Court’s decision of Anders v. California, 386 U.S. 738, 87

S.CT. 1396, 18 L.Ed. 2d 493(1967). Appellant counsel did so for the following

reasons and will enunciate those in his summary of argument as well as his

argument to be presented to this Court.

      Ayers’s plead guilty and was sentenced pursuant to the directives of the

United States Sentencing Guidelines Although the Court has discretion in this

matter, the Court after reviewing all the evidence concluded that there was no

reason to vary or depart from the sentence called for by the United States

Sentencing Guidelines and stated as much on the record.

      As previously stated, the sentence imposed was within the statutory

maximum allowed under the law and within the range recommended by the United

States Sentencing Guidelines.

      Based upon the above and foregoing, counsel has filed a no-merit brief.

                                  CONCLUSION

      After a thorough review of the record in this matter, counsel is filing his

brief with the opinion there is no-merit to this appeal.




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                  CERTIFICATE OF COMPLIANCE WITH
                     F.R.A.P. RULE 32 (a)(7)(B) AND ©


      I, W. Scott Brower, Attorney for the Defendant/Appellant in this case do

hereby certify that this brief contains 2308 words and 405 lines of type. This

certification is based on the document information file provided by my word

processor.



                                                     Respectfully Submitted,



                                                     /s/ W. Scott Brower
                                                     ASB-1249-w79w
                                                     Attorney for the
                                                     Defendant/Appellant




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                         CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the above and foregoing Brief

has this day been mailed, proper postage prepaid to Joyce Vance, United States

Attorney, Northern District of Alabama, 1801 4th Ave. N. Birmingham, Alabama

35203 and Matthew David Ayers #00298396, Limestone Correctional Facility,

28779 Nick Davis Rd., Harvest, Alabama 35749, this the 4th day of May, 2015.



                                                    /s/ W. Scott Brower
                                                    W. Scott Brower




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